                Case 3:04-cr-05524-RBL        Document 176       Filed 05/30/07      Page 1 of 1



 1
 2
 3              UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 4
 5       UNITED STATES OF AMERICA,
 6                                                       Case No.       CR04-5524FDB
                              Plaintiff,
 7                                                       INITIAL ORDER RE: ALLEGATIONS
                       v.                                OF VIOLATION OF CONDITIONS
 8                                                       OF SUPERVISION BY UNITED
         ROBERT VELA,                                    STATES PROBATION OFFICE
 9                            Defendant.
10
11
12   THIS MATTER comes on for hearing on the Petition of the United States Probation Office alleging
     that the defendant has violated the conditions of supervision.
13   The plaintiff appears through Special/Assistant United States Attorney, BARB SIEVERS;
14   The defendant appears personally and represented by counsel, MIRIAM SCHWARTZ

15   The Court having advised the defendant of the allegations in the Petition(s) filed by the U.S. Probation
     Office; the defendant having been advised of the maximum potential sanction if the allegation(s) is/are
16   substantiated; and the court finding probable cause with regard to the alleged violation(s);

17   The matter is scheduled for hearing before the Honorable FRANKLIN D BURGESS:

18                          Date: JUNE 13, 2007

19                          Time: 2:00 P.M.

20   (   ) Defendant is released pending the above scheduled hearing.

21   ( X ) Defendant is ordered detained for failing to show that he/she will not flee or pose a danger to any
     other person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
22   by the court for further proceedings. .

23   The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
     the United States Marshal and to the United States Probation Office and/or Pretrial Services Office.
24                                                        May 30, 2007.
25
26                                                        _/s/ J. Kelley Arnold________________
                                                          J. Kelley Arnold, U.S. Magistrate Judge
27
28


     ORDER
     Page - 1
